                United States District Court
                 District of Massachusetts

                  _______________________

          Criminal Action No. 1:13-cr-10262-DPW


                       United States,

                              v.

                   Michael P. O’Donnell
                  _______________________

  Response to Government’s Opposition to Motion
               Under 28 U.S.C. § 2255
     ___________________________________________
     Attached to the government’s opposition to
O’Donnell’s habeas motion are affidavits from his two trial
lawyers, Attorneys Jeffrey Denner and Joseph Keller.
Attorney Denner acknowledges that he did not discuss the
issue of attempt with O’Donnell until the Court raised it
with the government during closing argument. [Denner
Affidavit Par. 15]. Attorney Keller similarly acknowledges
that neither he nor Attorney Denner discussed the issue of
attempt with O’Donnell until the Court raised it following
the government’s closing argument. [Keller Affidavit Par.
10]. While both express confidence that disclosure of the
possibility of a conviction for attempt under 18 U.S.C.
§1344, the bank fraud statute, would not have made a
difference in their trial strategy or on O’Donnell’s decision


                                   1
as to whether to testify, it is clear that he was not aware of
the extent of the risk of a conviction at the time he entered
into his stipulation or when the decision was made not to
have him testify.
     There were, in fact, two paths to conviction, a
completed scheme and an attempt. United States v.
O'Donnell, 840 F.3d 15, 18 (1st Cir. 2016). As the Supreme
Court noted, “the gravamen of § 1344 is the ‘scheme,’
rather than ‘the completed fraud[.]’” Loughrin v. United
States, ___ U.S. ___, ___, 134 S. Ct. 2384, 2395 n.9 (2014),
quoting Neder v. United States, 527 U.S. 1, 25 (1999). An
attempt requires proof of fewer facts, which this Court
understood when it raised the issue following the
government’s closing, but which O’Donnell would not have
understood prior to that time. More critically, at the time
that he entered the stipulation and the decision was made
not to have him testify, he was not aware of the possibility
of his conviction under the attempt theory. Although,
again, his trial lawyers express confidence that this
information would not have made a difference either in the
outcome of the case or on the decision not to have him
testify, the fact that they admittedly did not advise
O’Donnell of information that would have been critical to
both decisions undermines confidence in both decisions.
     "The duty of defense counsel to consult is paramount
when a client has to decide whether or not to waive a
constitutional right[.]" Lyons v. Jackson, 299 F.3d 588, 598

                                   2
(6th Cir. 2002). Because the decisions to enter the trial
stipulation in which he admitted to a scheme to defraud
and to waive the right to testify—both decisions of
constitutional dimension—ultimately rested with
O'Donnell, counsel needed to "ensure that the client's
decision [was] as informed as possible." Id. "Failing even to
consider, let alone notify the client of, a factor that could
negate the entire benefit of the [decisions he was making
was] not within the range of professional norms." Id. More
important, as argued in his opening memorandum,
counsel’s admitted failure rendered O’Donnell’s waivers of
his rights involuntary. Id. at 598-599.
      Based on the authorities and reasons set forth above,
as well as the authorities and reasons discussed in his
opening memorandum, O’Donnell asks that this Court
grant him a new trial or such other relief as he may be
entitled.
                        Respectfully submitted,

                        Michael P. O’Donnell,
                        By his attorney,



                        Dana Alan Curhan
                        B.B.O. # 544250
                        45 Bowdoin Street
                        Boston, Massachusetts 02114
                        (617) 267-3800
                        dana.curhan@gmail.com



                                    3
                  Certificate of Service

      I hereby certify that I served this document upon counsel for
the United States by filing the same through the ECF system,
whereby they will be sent electronically to the registered
participants as identified on the Notice of Electronic filing. There
are no non-registered participants involved in this case.




                      Dana Alan Curhan
                      B.B.O. # 544250
                      45 Bowdoin Street
                      Boston, Massachusetts 02114
                      (617) 267-3800
                      dana.curhan@gmail.com




                                  4
